                  Case 15-60091    Doc 5   Filed 02/20/15   Entered 02/20/15 15:54:24    Desc Main Document      Page 1 of 6

                                           UNITED STATES BANKRUPTCY COURT
                                               EASTERN DISTRICT OF TEXAS
                                                    TYLER DIVISION

IN RE:                                                                    )             CASE NO:     15-60091
Fidel Casillas                                                            )
                                                                          )             Chapter 13
Isabel Casillas
SSN(s): xxx-xx-5683, xxx-xx-5311                                          )
209 N. Houston                                                            )
Grand Saline, Texas 75140                                                 )
                                                                          )
                                                                          )
                                                                          )
                             Debtor

You should read this Plan carefully and discuss it with your attorney. Confirmation of this Plan by the Bankruptcy Court may
modify your rights by providing for payment of less than the full amount of your claim, by setting the value of the collateral
securing your claim, and/or by setting the interest rate on your claim.



                                                        CHAPTER 13 PLAN

Debtor or Debtors (hereinafter called "Debtor") proposes this Chapter 13 Plan:

1. Submission of Income. Debtor submits to the supervision and control of the Chapter 13 Trustee ("Trustee") all or such portion
of future earnings or other future income of Debtor as is necessary for the execution of this Plan.

2.   Plan Payments and Length of Plan. Debtor will pay the sum of              $1,151.00       per         month         to Trustee by
   Payroll Deduction(s) or by      Direct Payment(s) for the period of              60         months, unless all allowed claims in
every class, other than long-term claims, are paid in full in a shorter period of time. The term of this Plan shall not exceed sixty
(60) months. See 11 U.S.C. §§ 1325(b)(1)(B) and 1325(b)(4). Each pre-confirmation plan payment shall be reduced by any pre-
confirmation adequate protection payment(s) made pursuant to Plan paragraph 6(A)(i) and § 1326(a)(1)(C).


     The following alternative provision will apply if selected:

         Variable Plan Payments
                                                                     .
           Beginning Month                 Ending Month                    Amount of                          Total
                                                                         Monthly Payment

                   1                             60                                $1,151.00                     $69,060.00
                                                                               Grand Total:                      $69,060.00

3. Payment of Claims. The amounts listed for claims in this Plan are based upon Debtor's best estimate and belief.
Allowed claims shall be paid to the holders thereof in accordance with the terms thereof. From the monthly payments described
above, the Chapter 13 Trustee shall pay the following allowed claims in the manner and amounts specified. Claims filed by a
creditor designated as secured or priority but which are found by the Court to be otherwise shall be treated as set forth in the
Trustee's Recommendation Concerning Claims.

4. Administrative Claims. Trustee will pay in full allowed administrative claims and expenses pursuant to § 507(a)(2) as set
forth below, unless the holder of such claim or expense has agreed to a different treatment of its claim.
    (A). Trustee's Fees. Trustee shall receive a fee for each disbursement, the percentage of which is fixed by the United States
Trustee.
     (B). Debtor's Attorney's Fees. The total attorney fee as of the date of filing of the petition is      $3,500.00 . The amount of
      $500.00        was paid prior to the filing of the case. The balance of     $3,000.00        will be paid     from first funds upon
confirmation, or in the alternative      from the remaining balance of funds available after specified monthly payments. The total
attorney fees are subject to reduction by notice provided in the Trustee's Recommendation Concerning Claims to an amount
consistent with LBR 2016(h) absent a certification from debtors attorney regarding legal services provided pertaining to
automatic stay litigation occurring in the case.




TXEB Local Form 3015-a [Revised January 18, 2006]                                                                                 Page 1
                   Case 15-60091    Doc 5    Filed 02/20/15   Entered 02/20/15 15:54:24   Desc Main Document     Page 2 of 6

Case No: 15-60091
Debtor(s): Fidel Casillas
           Isabel Casillas

5.   Priority Claims.

     (A). Domestic Support Obligations.
         None. If none, skip to Plan paragraph 5(B).
         (i).     Debtor is required to pay all post-petition domestic support obligations directly to the holder of the claim.

         (ii). The name(s) and address(es) of the holder of any domestic support obligation are as follows. See 11 U.S.C. §§
         101(14A) and 1302(b)(6).

         (iii).   Anticipated Domestic Support Obligation Arrearage Claims
                  (a). Unless otherwise specified in this Plan, priority claims under 11 U.S.C. § 507(a)(1) will be paid in full
                  pursuant to 11 U.S.C. § 1322(a)(2). These claims will be paid at the same time as claims secured by personal
                  property, arrearage claims secured by real property, and arrearage claims for assumed leases or executory
                  contracts.

                      None; or

                            (a)                                                (b)                                    (c)
                          Creditor                                     Estimated arrearage                Projected monthly arrearage
                     (Name and Address)                                       claim                                 payment


                  (b). Pursuant to §§ 507(a)(1)(B) and 1322(a)(4), the following domestic support obligation claims are assigned
                  to, owed to, or recoverable by a governmental unit.

                      None; or

                  Claimant and proposed treatment:
                                    (a)                                                                (b)
                                 Claimant                                                       Proposed Treatment


     (B). Other Priority Claims (e.g., tax claims). These priority claims will be paid in full, but will not be funded until after all
     secured claims, lease arrearage claims, and domestic support claims are paid in full.

                                                 (a)                                                                  (b)
                                               Creditor                                                         Estimated claim

 IRS/SPS                                                                                                                          $2,000.00

6.   Secured Claims.
     (A). Claims Secured by Personal Property Which Debtor Intends to Retain.

         (i).   Pre-confirmation adequate protection payments. Unless the Court orders otherwise, no later than 30 days after
         the date of the filing of this plan or the order for relief, whichever is earlier, the Debtor shall make the following adequate
         protection payments to creditors pursuant to § 1326(a)(1)(C). If the Debtor elects to make such adequate protection
         payments on allowed claims to the Trustee pending confirmation of the plan, the creditor shall have an administrative
         lien on such payment(s), subject to objection. If Debtor elects to make such adequate protection payments directly to
         the creditor, Debtor shall provide evidence of such payment to the Trustee, including the amount and date of the
         payment, as confirmation is prohibited without said proof.




TXEB Local Form 3015-a [Revised January 18, 2006]                                                                                        Page 2
               Case 15-60091      Doc 5    Filed 02/20/15   Entered 02/20/15 15:54:24   Desc Main Document    Page 3 of 6

Case No: 15-60091
Debtor(s): Fidel Casillas
           Isabel Casillas

        Debtor shall make the following adequate protection payments:

            directly to the creditor; or
            to the Trustee pending confirmation of the plan.

                       (a)                                                    (b)                                    (c)
                     Creditor                                              Collateral                         Adequate protection
                                                                                                               payment amount


        (ii). Post confirmation payments. Post-confirmation payments to creditors holding claims secured by personal
        property shall be paid as set forth in subparagraphs (a) and (b). If Debtor elects to propose a different method of
        payment, such provision is set forth in subparagraph (c).

              (a). Claims to Which § 506 Valuation is NOT Applicable. Claims listed in this subsection consist of debts secured
              by a purchase money security interest in a vehicle for which the debt was incurred within 910 days of filing the
              bankruptcy petition, or, if the collateral for the debt is any other thing of value, the debt was incurred within 1 year of
              filing. See § 1325(a)(5). After confirmation of the plan, the Trustee will pay to the holder of each allowed secured
              claim the monthly payment in column (f) based upon the amount of the claim in column (d) with interest at the rate
              stated in column (e). Upon confirmation of the plan, the interest rate shown below or as modified will be binding
              unless a timely written objection to confirmation is filed and sustained by the Court. Payments distributed by the
              Trustee are subject to the availability of funds.

                  None; or

                              (a)                                         (c)                 (d)            (e)               (f)
                         Creditor; and                                 Purchase           Estimated       Interest          Monthly
                              (b)                                        date               Claim           rate            payment
                          Collateral


              (b). Claims to Which § 506 Valuation is Applicable. Claims listed in this subsection consist of any claims
              secured by personal property not described in Plan paragraph 6(A)(ii)(a). After confirmation of the plan, the
              Trustee will pay to the holder of each allowed secured claim the monthly payment in column (f) based upon the
              replacement value as stated in column (d) or the amount of the claim, whichever is less, with interest at the rate
              stated in column (e). The portion of any allowed claim that exceeds the value indicated below will be treated as
              an unsecured claim. Upon confirmation of the plan, the valuation and interest rate shown below or as modified
              will be binding unless a timely written objection to confirmation is filed and sustained by the Court. Payments
              distributed by the Trustee are subject to the availability of funds.

                  None; or

                              (a)                                         (c)                (d)            (e)                (f)
                         Creditor; and                                 Purchase         Replacement      Interest           Monthly
                              (b)                                        date              value           rate             payment
                          Collateral


 Citifinancial                                                             Various         $35,000.00        11.00%             $764.24
 209 N. Houston, Grand Saline, Texas 75140
 Winslow Sales                                                                2014          $9,000.00        4.00%              $165.05
 2004 Ford Expedition




TXEB Local Form 3015-a [Revised January 18, 2006]                                                                                 Page 3
                 Case 15-60091    Doc 5   Filed 02/20/15   Entered 02/20/15 15:54:24   Desc Main Document     Page 4 of 6

Case No: 15-60091
Debtor(s): Fidel Casillas
           Isabel Casillas

    (B). Claims Secured by Real Property Which Debtor Intends to Retain. Debtor will make all post-petition mortgage payments
    directly to each mortgage creditor as those payments ordinarily come due. These regular monthly mortgage payments,
    which may be adjusted up or down as provided for under the loan documents, are due beginning the first due date after the
    case is filed and continuing each month thereafter, unless this Plan provides otherwise. Trustee may pay each allowed
    arrearage claim at the monthly rate indicated below until paid in full. Trustee will pay interest on the mortgage arrearage if
    the creditor requests interest, unless an objection to the claim is filed and an order is entered disallowing the requested
    interest.

                              (a)                                            (c)                    (d)                  (e)
                         Creditor; and                              Estimated pre-petition       Interest        Projected monthly
                              (b)                                        arrearage                 rate          arrearage payment
                      Property description


 Van Zandt County Appraisal District                                              $1,000.00        12.00%                         $22.40
 209 N. Houston, Grand Saline, Texas 75140

    (C). Surrender of Collateral. Debtor will surrender the following collateral no later than thirty (30) days from the filing of the
    petition unless specified otherwise in the Plan. Any involuntary repossession/foreclosure prior to confirmation of this Plan
    must be obtained by a filed motion and Court order, unless the automatic stay no longer applies under § 362(c). Upon Plan
    confirmation, the automatic stay will be deemed lifted for the collateral identified below for surrender and the creditor need
    not file a Motion to Lift Stay in order to repossess, foreclose upon or sell the collateral. Nothing herein is intended to lift any
    applicable co-Debtor stay, or to abrogate Debtor's state law contract rights.

                                (a)                                                                    (b)
                              Creditor                                                   Collateral to be surrendered



    (D). Void Lien: The secured creditors listed below hold a non-purchase money, non-possessory security interest on Debtor's
    exempt property. Their lien will be voided pursuant to 11 U.S.C. § 522(f) and their claim treated as unsecured and paid
    pursuant to paragraph 7 below:


                    Name of Creditor                                         Collateral Description                         Estimated
                                                                                                                              Claim


7. Unsecured Claims. Debtor estimates that the total general unsecured debt not separately classified in Plan paragraph 12
is     $14,536.00      . After all other classes have been paid, Trustee will pay to the creditors with allowed general unsecured
claims a pro rata share of         $52.58        . Trustee is authorized to increase this dollar amount if necessary, in order to comply
with the applicable commitment period stated in paragraph 2 of this Plan.

8. Executory Contracts and Unexpired Leases. All executory contracts and unexpired leases are assumed, unless rejected
herein. Payments due after the filing of the case will be paid directly by Debtor (c) or through the plan by the Trustee (d), as set
forth below.

Debtor proposes to cure any default by paying the arrearage on the assumed leases or unexpired contracts in the amounts
projected in column (e) at the same time that payments are made to secured creditors. All other executory contracts and
unexpired leases of personal property are rejected upon conclusion of the confirmation hearing.

    None; or




TXEB Local Form 3015-a [Revised January 18, 2006]                                                                                  Page 4
                Case 15-60091     Doc 5   Filed 02/20/15   Entered 02/20/15 15:54:24   Desc Main Document    Page 5 of 6

Case No: 15-60091
Debtor(s): Fidel Casillas
           Isabel Casillas


                           (a) Creditor; and                                      (c)                (d)                    (e)
               (b) Nature of lease or executory contract                   Payment to be       Payment to be            Projected
                                                                           paid directly by     paid through       arrearage monthly
                                                                               Debtor             plan by           payment through
                                                                                                  Trustee                plan (for
                                                                                                                      informational
                                                                                                                        purposes)



9. Property of the Estate. Upon confirmation of this plan, title of the property of the estate shall vest in DEBTOR(S), unless the
Court orders otherwise.

10. Post-petition claims. The DEBTOR(S) will not incur any post-petition consumer debt except upon written approval of the
Court or the Standing Chapter 13 Trustee. Post-petition claims will be allowed only as specified in 11 U.S.C. § 1305.

11. General Provisions. Post-Petition earnings during the pendency of this case shall remain property of the estate
notwithstanding section 1327. Any remaining funds held by the Trustee after dismissal or conversion of a confirmed plan may
be distributed to creditors pursuant to these provisions. Notwithstanding section 1329(a), the Trustee may bring a motion
anytime within the applicable commitment period of the Plan to modify debtor's Plan to meet the criteria of section 1325(b). Any
funds sent to the debtor(s) in care of the Trustee, during the pendency of this case may be deposited to the debtor's account and
disbursed to creditors holding allowed claims pursuant to this Plan, the Confirmation Order, and/or as set forth in the Trustee's
Recommendation Concerning Claims.

12. Other Provisions:

    (A). Special classes of unsecured claims.

 Name of Unsecured Creditor                                 Remarks


    (B). Other direct payments to creditors.

 Name of Creditor                                           Remarks


    (C). Additional provisions.
    TRCC
    Notwithstanding any provision herein to the contrary, the deadline for the Trustee to file the Trustee's Recommendation
    Concerning Claims, as well as the deadline for filing objections to the Trustee's Recommendation Concerning Claims
    and objections to claims shall be governed by Local Bankruptcy Rule 3015(g).


    Debtor anticipates new income
    Within thirty (30) days from the date Debtor obtains new employment/retirement income and/or disability income,
    Debtor shall file a new budget to reflect such new income to allow either party, if appropriate, to modify the plan, to add
    the additional disposable income to the plan base. The debtor shall also, within thirty (30) days from the date Debtor
    obtains new employment/retirement income/disability income, provide to the Trustee new pay advices or other
    evidence of the amount of the new income.


    Mortgage Amount to be Paid in Debtors' Plan
    The entire amount owed to Citi Financial for the mortgage owed on Debtors' real property shall be paid through
    Debtors' plan.




TXEB Local Form 3015-a [Revised January 18, 2006]                                                                                 Page 5
                Case 15-60091    Doc 5   Filed 02/20/15   Entered 02/20/15 15:54:24   Desc Main Document    Page 6 of 6

Case No: 15-60091
Debtor(s): Fidel Casillas
           Isabel Casillas

    Tax Returns and Refunds
    All future tax refunds which Debtor(s) receive during the term of the plan, starting witht the tax refund, if any, to be
    received for the tax year 2015, shall be turned over to the Trustee within ten (10) days of receipt of such, to the extent
    said refund exceeds $6,000.00, and shall be added to the plan base. Whether or not a tax refund is due, debtor shall
    provide a copy of their tax return to the trustee within ten (10) days of filing such during the term of the plan.



Special Note: This plan is intended as an exact copy of the recommended form prepared by the Standing Chapter 13 Trustees
for this District, except as to any added paragraphs after paragraph 11 above. The Chapter 13 trustee shall be held harmless for
any changes in this plan from the recommended form dated July 1, 2005.




Date: February 20, 2015                                               /s/ Fidel Casillas
                                                                      Fidel Casillas, Debtor

/s/ Bradley S. Campbell                                               /s/ Isabel Casillas
Bradley S. Campbell, Debtor's Attorney                                Isabel Casillas, Debtor




TXEB Local Form 3015-a [Revised January 18, 2006]                                                                                Page 6
